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    PRESS RELEASE



    Acting United States Attorney Fondren
    Announces Federal Indictment Against
    Gynecologist for Sexually Abusing
    Patients, Adulterating Medical Devices
    for Reuse on Patients, and Healthcare
    Fraud

    Friday, February 28, 2025                                                          For Immediate Release

                                                                                       U.S. Attorney's Office, Western District of
                                                                                      Tennessee




    Comments and quotations contained in the February 28, 2025 version of this press release have
                                                                   been retracted.

    Memphis, TN - Reagan Fondren, Acting United States Attorney for the Western District of
    Tennessee, announced today that Sanjeev Kumar, 44, was arrested this morning and charged
    with enticing and inducing four victims to travel interstate to engage in illegal sexual activity,
    adulteration of medical devices, misbranding of medical devices, and healthcare fraud.

    The indictment unsealed today alleges that from at least in or about September 2019 and up to
    and including at least in or about June 2024, Kumar enticed and induced four victims to travel
    interstate to his medical offices in Memphis, Tennessee, at least in part for the purpose of

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    subjecting them to a sexual activity for which he could be charged with a criminal offense in
    violation of Tennessee Code Annotated Section 39-13-503.

    According to the Indictment, between 2019 and 2024, Kumar sexually abused women                                                     by
    conducting medically unnecessary gynecologic procedures with medical devices that he held
    under insanitary conditions and reused on patients when they were required to be disposed of
    or properly reprocessed. Kumar did not inform patients that he was reusing “single use” or
    improperly reprocessed devices before he inserted the devices into their vaginas. He also billed
    Medicare and Medicaid as if the procedures were medically necessary and as if he had used a
    new or properly reprocessed device for each procedure.

    This case is being investigated by the United States HHS-OIG, the United States Food and Drug
    Administration Office of Criminal Investigations (FDA-OCI), the Federal Bureau of Investigation
    (FBI), and Tennessee Bureau of Investigation (TBI).

    The charges and allegations contained in the indictment are merely accusations of criminal
    conduct, not evidence.               The defendant is presumed innocent unless and until proven guilty
    beyond a reasonable doubt and convicted through due process of law.                                             If convicted, the
    defendant’s sentence will be determined by the Court after review of the factors unique to the
    case, including the defendant’s prior criminal records (if any), the defendant’s role in the
    offense, and the characteristics of the violation.

    Acting U.S. Attorney Fondren thanked Assistant United States Attorneys Lynn Crum, Scott
    Smith, and Sarah Pazar Williams for prosecuting this case, as well as the law enforcement
    partners who investigated the case.

                                                                            HH

         For more information, please contact the Media Relations Team at USATNW.Media@usdoj.gov.
     Follow the U.S. Attorney’s Office on Facebook or on X at @WVDTNNews for office news and updates.


    Updated March 6, 2025




    Component

    USAO - Tennessee, Western




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          March 4, 2025




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          February 26, 2025




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